               Case 1:25-cr-00166-RP             Document 1             Filed 03/24/25    Page 1 of 1

                                                                                                      AUSA Buie

                            United States District Court
                                         For the Western District of Texas                                 FILED
                                                 Austin Division                                       March 24, 2025
                                                                                                    CLERK, U.S. DISTRICT COURT
                                                                                                    WESTERN DISTRICT OF TEXAS
 United States of America,                                    §                                             Yvette Lujan
                                                                                                 BY: ________________________________
                                                                                                                         DEPUTY
                                                              §
 v.                                                           §
                                                              §            Case Number:
 Jeison Francisco Rodriguez-Lobo                              §
 Aka: Jeison Rodriguez Lobo, Jeison                           §                     1:25-mj-337
 Francisco Rodriguez Lobo, Jason                              §
 Rodriguez, Jeison Rodriguez-Lobo,
 Jeison Francisc Rodriguez-Lobo

                                             CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about March 15, 2025, in the county of Bastrop, in the Western District of Texas, the defendant,
Jeison Francisco Rodriguez-Lobo, violated Title 8, United States Code section 1326.

This criminal complaint is based upon the following facts:

On or about March 15, 2025, the defendant, an alien, was found in the Bastrop County Jail, in Bastrop, Texas,
within the Western District of Texas. A deportation officer lodged a detainer after identifying the defendant and
subsequent queries identified the defendant as a previously removed alien.

Investigation and records of the Immigration and Customs Enforcement establish that the defendant is an alien
who was previously removed from the United States to Honduras on or about August 11, 2023, and that he
unlawfully and illegally reentered the United States without having obtained permission from the Attorney
General of the United States or the Secretary for Homeland Security to reapply for admission.


                                                              ______________________________________________
                                                              Signature of Complainant (A. Rossy)
                                                              Deportation Officer
                                                              Immigration and Customs Enforcement

Submitted and sworn to electronically and signed by me
pursuant to Fed. R. Crim P. 4.1 and 4(d)


March 24, 2025                                                           Austin, Texas
___________________________________________              at       ________________________________________________
 Date                                                             City and State

Dustin M. Howell
United States Magistrate Judge
___________________________________________                       ________________________________________________
Name & Title of Judicial Officer                                  Signature of Judicial Officer
